                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ROBERT (BOB) ROSS,                     §
 Plaintiff/Counterclaim Defendant,     §
                                       §
v.                                     §  Civil Action No. 4:22-CV-00343-Y
                                       §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS, et al.,             §
   Defendants/Counterclaim Plaintiffs. §
__________________________________________________________________________

EUGENIO VARGAS,                                §
 Plaintiff/Counterclaim Defendant,             §
                                               §
v.                                             §       Civil Action No. 4:22-CV-00430-Y
                                               §
ASSOCIATION OF PROFESSIONAL                    §
FLIGHT ATTENDANTS, et al.                      §
 Defendants/Counterclaim Plaintiff.            §

       RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTIONS TO VACATE
       ORDERS AND FILE NEW COMPLAINTS AND BRIEF IN SUPPORT
       Defendants/Counterclaim Plaintiff Association of Professional Flight Attendants

(“APFA”) et al. respectfully submit this response and brief in opposition to the Motions by

Plaintiffs Robert Ross (“Ross”) and Eugenio Vargas (“Vargas”) to vacate Orders and file

Amended Complaints in their respective companion cases before the Court (Ross Doc. 55;

Vargas Doc. 56).1 We are filing this same brief in both cases because the Motions by Ross and

Vargas, and the serial and preclusive legal defects to those Motions, are substantively identical.

       1. Ross and Vargas Attempt to Relitigate the Facts

       Both Ross and Vargas present extended factual statements in support of their Motions in


1
 Citation to the docketed filings in Ross v. APFA, et al, No. 4:22-CV-00343-Y will be made by “Ross
Doc. __” and to the docketed filings in Vargas v. APFA, et al., No. 4:22-CV-00430-Y by “Vargas Doc.
__” where the number referenced will be to the ECF docket number of the document cited to in each case.


                                                   1
the hope of persuading the Court to address the facts of their cases. (Ross Doc. 56, Brief at 4-5,

6-8; Vargas Doc. 56, Brief at 5-6, 7-9). There are at least two legal barriers precluding their

efforts. First, the merits of the cases against Ross and Vargas as well as the conduct of their

hearings are matters withing the Arbitrator’s exclusive jurisdiction.2 Second, this “evidence”

could have been presented to the Arbitrator during or after either the original and supplemental

proceedings, or during the period after each when the Arbitrator extended jurisdiction, and Ross

and Vargas waived any rights to present additional evidence to the Court by not doing so.3

        2. Governing Precedents Bar the Amended Complaints

        The purported jurisdictional predicate for both Motions is baseless under settled

precedent holding that the LMRDA is inapplicable to these arbitration proceedings,4 and to this

Court’s recent rulings in its Orders of October 27, 2022. Ross v. APFA et al. (Ross Doc. 51 at 2)

(citing Breininger, 493 U.S. at 84); Vargas v. APFA et al. (Vargas Doc. 52 at p. 2) (same).5

        And both the Ross and Vargas Motions simply ignore and do not attempt to refute or

distinguish LMRA Section 301(a), 29 U.S.C. §185 (a), the governing jurisdictional basis for




2
 John Wiley & Sons, Inc. v. Livingston, 378 U.S. 543, 557 (1964); Columbian Carbon Co. v. Operating
Engineers, 360 F. 2d 1018, 1020-21 (5th Cir. 1966).
3
 Weinberger v. Silber, 140 F. Supp. 2d 712, 721 (N.D. Tex. 2001) (citations omitted) ("If a party does not
protest to the arbitrator, courts generally will not give him a second chance to do so in a motion to
vacate."); Penson Fin. Servs. v. Misr. Secs. Int'l, 2008 U.S. Dist. LEXIS 139581 at *13-14 (N.D.
Tex. 2008) (J. Boyle).
4
 Breininger v. Sheet Metal Workers Local 6, 493 U.S. 67, 92-94 (1989); Guidry v. Operating Engineers
Local 406, 907 F.2d 1491, 1492 (5th Cir. 1990).
5
  Ignoring the Court’s rejections of this specific assertion, Ross and Vargas continue to mischaracterize
the arbitration process as “union discipline.” (Ross Doc. 56, Brief at 4, 7-8, 9, 14-15, 17-18; Vargas Doc.
56, Brief at 5, 8-9, 10, 15-16, 17-18).



                                                     2
judicial enforcement of arbitration decisions and for the courts’ deference to those arbitration

decisions.6

        Indeed, the relief sought in neither of the Amended Complaints proffered by Ross and

Vargas even seeks to vacate the arbitration decisions at issue as a remedy. (Ross Doc. 55.1,

Motion, Exh. A at 21-22; Vargas Doc. 55.1, Motion, Exh. A at 11). If sustained, in other words,

the Complaints proposed by Ross and Vargas would leave those arbitration decisions intact.7

        3. Strike Three: Plaintiffs’ Motions Can, and Should Be Denied as Futile
        The re-drafted Amended Complaints submitted by Ross and Vargas would be subject

to Motions to Dismiss on the same bases set forth above, including the Court’s recent rulings,8

and are therefore futile and should not interfere with the Court’s consideration of the pending

Motions for Summary Judgment by APFA.9



6
 E.g., Bldg. Materials Mfg. Co. v. Steelworkers, 2020 U.S. Dist. LEXIS 37075, 2020 WL 1047895 at *7-
8 (N.D. Tex. 2020) (J. Starr); Allied Waste Systems Inc. v. Teamsters Local 767, 2007 U.S. Dist. LEXIS
43035, 2007 WL 1703634 at *19-21 (N.D. Tex. 2007) (J. Means).
7
  Any and all additional claims in the proposed new Complaints are all “inextricably intertwined” with
Plaintiffs’ challenges to the merits of the Arbitrator’s decision and are therefore preempted. Woodcock v.
Marathon Petroleum, 2019 U.S. Dist. LEXIS 66447, 2019 WL167618187 at *5-6 (S.D. Tex. 2019)
(“Preemption occurs when a decision on the [nonlabor] claim is inextricably intertwined with
consideration of the terms of the labor contract or when the application of state law to a dispute requires
interpretation of the collective-bargaining agreement.” Thomas v. LTV Corp., 39 F. 3d 611, 615-16 (5th
Cir. 1994). See also Blanks v UAW, 837 F. Supp. 2d 609, 616 (N.D, Tex. 2011), (J. Means), aff’d 464
Fed. Appx. 284 (5th Cir. 2012).

8
  Ross’s and Vargas’s argument that they should be allowed “at least one chance to amend" their
complaints prior to dismissal (Ross Doc. 56, at p. 18; Vargas Doc. 56, at p. 19) is also to no avail since “it
is clear that the defects are incurable” and their proposed amended complaints would be subject to
dismissal on the same grounds as the Court’s Orders of October 27, 2022. Stanissis v. Dyncorp Int'l LLC,
2014 WL 7183942, at 1 (N.D. Tex. Dec. 17, 2014) (J. Fitzwater),

9
  Briggs v. Mississippi, 331 F.3d 499, 508 (5th Cir. 2003) (The "futility standard" is "the same standard of
legal sufficiency as applies under Rule 12(b)(6)."); McGee v. Citi Mortg., Inc., 680 F. App'x 287, 291 (5th
Cir. 2017) (per curiam) (quoting Stripling v. Jordan Prod. Co., LLC, 234 F.3d 863, 873 (5th Cir. 2000))
(a proposed amendment is futile if "the amended complaint would fail state a claim upon which relief
could be granted."); Robinson v Wells Fargo Bank, 3-20-0601-B, ECF Doc. No 24 (N.D. Tex. June 4,
2021) (J. Boyle) (unpublished, attached as Ex. 1) (denying motion to amend as “futile, and [when]


                                                      3
                                        CONCLUSION
        After the parties thoroughly briefed and argued the attempts by Ross and Vargas to

persuade the Court to relitigate the merits of, and then vacate the recent arbitration decisions

against them, and after the Court considered and rejected their arguments, Ross and Vargas hope

to simply re-start this litigation all over again. It is respectfully submitted that such a proposed

“do over” is unsupported by the record and contrary to settled precedent, disrespectful of the

Court’s recent rulings, and wasteful of the resources of the parties and the Court. Plaintiffs’

motion should therefore be rejected.




granting leave to amend would cause undue delay in this case.”); Mornes v. Valdez, 414 F.Supp.3d 888,
889-92 (N.D. Tex. 2019) (J. Tolivar).

Pendency of the motions to amend should not delay this Court’s consideration of APFA’s Motions for
Summary Judgment as "[s]ummary judgment may be granted when a motion for leave to amend is
pending." Fresh Am. Corp. v. Wal-Mart Stores, Inc., 2004 WL 983615, *6 (N.D. Tex. Apr.29, 2004)
(Ramirez, J.). Robinson v Wells Fargo Bank, supra.; See Emcode Reimb. Solutions v Nutmeg Ins. Co.,
512 F. Supp. 2d 603, 612 (N.D. Tex. 2007 (J. Fitzwater) (denying a motion to amend where the Court
“has already addressed the merits of [the] proposed [amended] claim in the context of [a] motion for
summary judgment” and “[w]ere the court to grant leave to amend to assert [the proposed] amended claim
. . . it would ultimately grant summary judgment dismissing the claim.”) .

Moreover, the grant of APFA’s pending motions for summary judgment would moot the motions to
vacate and amend as no “live” issue would remain. “[A] controversy can become moot ‘when the issues
presented are no longer 'live.'" Chevron USA Inc. v Traillour Oil Co., 987 F.2d 1138, 1153 (5th Cir. 1993)
citing Powell v. McCormack, 395 U.S. 486, 496, 89 S.Ct. 1944, 1951 (1969); Kovac v Wray, 449
F.Supp.3d 649, 653 (N.D. Tex. 2020) ( J. Starr).

Furthermore, as stated in footnote 2 to APFA’s motions for summary judgment (Ross. Doc. 42 at p. 1;
Vargas Doc. 43 at p. 1) the Court’s grant of summary judgment enforcing the arbitrator’s decisions will
also effectively resolve and dispose of the remaining claims in APFA’s counterclaims for breach of
fiduciary duty for engaging in the same misconduct addressed by the Arbitrator in his decisions. (Ross.
Doc. 8 at PageID 115-116; Vargas Doc. 11 at PageID 115-116). Final Judgment could then be entered in
favor of APFA and individual defendants Hedrick and Harris on all claims and defenses as between them
and both Ross and Vargas in the companion cases of Ross v. APFA, et al, No. 4:22-CV-00343-Y and
Vargas v. APFA, et al., No. 4:22-CV-00430-Y.


                                                    4
Date: November 18, 2022   Respectfully Submitted,

                            /s/ Sanford R. Denison
                          SANFORD R. DENISON
                          Tex. Bar No. 05655560
                          Baab & Denison, LLP
                          6301 Gaston Ave., Suite 550
                          Dallas, TX 75214
                          Tel.: (214) 637-0750
                          Fax.: (214) 637-0730
                          Email: denison@baabdenison.com

                          WILLIAM W. OSBORNE JR.*
                          D.C. Bar No. 912089
                          Osborne Law Offices P.C.
                          5335 Wisconsin Avenue N.W., Suite 440
                          Washington, D.C. 20015
                          Tel.: (202) 243-3200
                          Fax: (202) 686-2977
                          Email: b.osborne@osbornelaw.com

                          Counsel for Defendant Counterclaim Plaintiff
                          Association of Professional Flight Attendants, and
                          Defendants Julie Hedrick and Erik Harris

                          *Admitted Pro Hac Vice




                             5
                               CERTIFICATE OF SERVICE

       I certify that on this 18th day of November 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com

       MICHAEL R RAKE
       Michael R. Rake, Attorney at Law
       PO Box 1556
       Lake Dallas, TX 75065
       Tel.: (940) 498-2103
       Fax: (940) 498-2103
       Email: mrake1@mrakeattorney.com

                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON




                                               6
